 Case 11-51844-wlh Doc 29 Filed 04/30/12 Entered 04/30/12 15:49:51                Desc Main
              Document - Motion to Reopen Case (FEE) Page 1 of 3




   IT IS ORDERED as set forth below:



    Date: April 30, 2012


                                                     _____________________________________
                                                                Wendy L. Hagenau
                                                           U.S. Bankruptcy Court Judge


_______________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                        )   CASE NO. 11-51844-WLH
                                               )
 MARK A. RICHARDS,                             )   CHAPTER 7
                                               )
                        Debtor.                )   JUDGE WENDY L. HAGENAU
                                               )

                   ORDER ON MOTION TO RE-OPEN CHAPTER 7 CASE
                        AND FOR ORDER OF ABANDONMENT

          The Debtor’s pro se Motion to Re-Open Chapter 7 Case and Motion for Order of

 Abandonment came before the Court for hearing on April 26, 2012, at 10:30 a.m. The Debtor

 appeared pro se, Martha Miller, the trustee, appeared, and Mary C. DeCamp appeared on behalf

 of D.R. Horton, Inc.. After reviewing the Motion, the entire case and the arguments of the

 parties, the Court hereby finds as follows:

          The Debtor filed his bankruptcy petition on January 24, 2011. In his schedules, the

 Debtor disclosed a potential fraud and breach-of-contract claim against his homebuilder in an

 estimated amount of $250,000.00. Ms. Miller stated at the hearing she discussed the potential
Case 11-51844-wlh Doc 29 Filed 04/30/12 Entered 04/30/12 15:49:51                     Desc Main
             Document - Motion to Reopen Case (FEE) Page 2 of 3


lawsuit with the Debtor, analyzed the merits of the lawsuit, and determined the Trustee would

not pursue the lawsuit. Consequently, on April 25, 2011, Ms. Miller filed her Report of No

Distribution. The Court subsequently discharged Mr. Richards and closed the case on July 19,

2011.

        Pursuant to 11 U.S.C. § 554(c), “any property scheduled under Section 521(a)(1) of this

title not otherwise administered at the time of the closing of the case is abandoned to the debtor

and administered for purposes of Section 350 of this title.” Since the Debtor’s cause of action

against D.R. Horton, Inc. was disclosed in his schedules, and not otherwise administered by the

Trustee, at the time the case was closed on July 19, 2011, the cause of action was abandoned by

the Trustee to the Debtor, and he, and he alone, had standing from that date forward to pursue the

cause of action.    Having listed the cause of action in his schedules, the asset has been

administered.

        It is hereby ORDERED that the case is NOT re-opened;

        ORDERED FURTHER that, by operation of 11 U.S.C. § 554(c), the Debtor’s cause of

action against D.R. Horton, Inc. was abandoned to the Debtor on July 19, 2011, is presently

vested in the Debtor and Debtor alone, and only the Debtor has the right to pursue this cause of

action. The bankruptcy estate has no further interest in it.

                                    ### END OF ORDER ###
Case 11-51844-wlh Doc 29 Filed 04/30/12 Entered 04/30/12 15:49:51   Desc Main
             Document - Motion to Reopen Case (FEE) Page 3 of 3


                                  DISTRIBUTION LIST

Mark A. Richards
1861 Windsor Creek Drive
Conyers, GA 30094

Robert J. Semrad & Associates, LLC
101 Marietta Street, Suite 3600
Atlanta, GA 30303

Martha A. Miller
Schulten Ward & Turner LLP
260 Peachtree Street NW, Suite 2700
Atlanta, GA 30303

Mary C. DeCamp
Leitner Williams Dooley & Napolitan
801 Broad Street, Third Floor
Chattanooga, TN 37402
